              IN THE COURT OF APPEALS OF NORTH CAROLINA

                                  No. COA18-998

                              Filed: 21 January 2020

Columbus County, No. 15 CRS 50590

STATE OF NORTH CAROLINA

             v.

ANTIWUAN TYREZ CAMPBELL


      Appeal by defendant from judgment entered 2 August 2017 by Judge Douglas

B. Sasser in Columbus County Superior Court.        Heard in the Court of Appeals

19 September 2019.


      Attorney General Joshua H. Stein, by Assistant Attorney General Peter A.
      Regulski, for the State.

      Geeta N. Kapur for defendant-appellant.


      ARROWOOD, Judge.


      Antiwuan Tyrez Campbell (“defendant”) appeals from judgment entered

against him for first-degree murder. On appeal, defendant argues that the trial court

erred by concluding that he failed to establish a prima facie case of racial

discrimination in jury selection, as set forth by Batson v. Kentucky, 476 U.S. 79, 90

L. Ed. 2d 69 (1986). The State has filed a motion to dismiss defendant’s appeal. We

deny the same and review defendant’s appeal on the merits. For the reasons that

follow, we find no error.
                                        STATE V. CAMPBELL

                                         Opinion of the Court



                                        I.      Background

      On 15 April 2015, defendant was indicted for the first-degree murder of Allen

Wilbur Davis, Jr., as well as the second-degree kidnapping of K.J.1 The case came on

for trial in Columbus County Superior Court before the Honorable Douglas B. Sasser

on 24 July 2017. On that date, the trial court addressed several pretrial motions filed

by defense counsel, including “a motion for a complete recordation of all the

proceedings.” Counsel specifically noted that she was “not requesting that [complete

recordation] include jury selection,” and that her motion was “[j]ust for appeal

purposes.”      The trial court granted the motion for recordation.    Jury selection

commenced the following day. However, as requested by defense counsel, those

proceedings were not recorded.

      On the second day of jury selection, as the parties were seating alternate

jurors, defense counsel objected to the State’s use of peremptory challenges, alleging

that they were exercised in a racially discriminatory manner in violation of Batson.

By this point in the proceedings, the State had exercised four peremptory challenges,

three of which were used to strike African American prospective jurors: Ms. Vereen,

Ms. Holden, and Mr. Staton. Defense counsel asserted that “the State . . . has tried

extremely hard for every African-American, to excuse them for cause[,]” adding that

“the last two alternate [African American] jurors . . . excused showed no leaning one



      1   A pseudonym is used to protect the juvenile’s privacy.

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                                  Opinion of the Court



way or the other or indicated that they would not be able to hear the evidence, apply

the law, and render a verdict.” Defense counsel further noted that

             [w]e had Ms. Vereen on the front, who the State stayed on
             her over and over again, trying to get her removed for
             cause, and they finally used a peremptory on her. And then
             we move to our alternate, Mr. Staton. [The prosecutor]
             tried twice to get him removed for cause.

After considering defense counsel’s argument, the trial court denied defendant’s

Batson challenge.

      Later that day, however, Judge Sasser stated that “upon further reflection,

although I do not find that a prima facie case has been established for discrimination

pursuant to Batson, in my discretion, I am still going to order the State to proceed as

to stating a racially-neutral basis for the exercise of the peremptory challenges[.]”

The State then offered the following bases for the exercise of its peremptory

challenges for each of the stricken African American prospective jurors:

      1.     The first juror, Ms. Vereen, had indicated that she knew Clifton Davis

(“Davis”) and had dated his brother, both of whom were potential witnesses at

defendant’s trial. Davis was a friend of defendant, and was allegedly at the scene

with him at the time of the crimes.

      2.     The second juror, Mr. Staton, was challenged because he “made several

conflicting statements during the State’s questioning to try to ensure if he could be




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                                    Opinion of the Court



fair and impartial or not.” Further, he knew K.J.’s mother, who was “a fact witness

and . . . an eyewitness . . . to the kidnapping.”

       3.    The third juror, Ms. Holden, was stricken because she had been a

classmate of two potential witnesses at defendant’s trial. The State also explained

that

             an additional reason for the peremptory strike against Ms.
             Holden was the fact when she was describing her political
             science background and nature as a student, she also was
             indicating that she was a participant, if not an organizer,
             for Black Lives Matter at her current college with her
             professor, and whether or not that would have any implied
             unstated issues that may arise due to either law
             enforcement, the State, or other concerns we may have.

       Following the State’s explanation of the bases for the exercise of its peremptory

challenges, the trial court reiterated that it “continues to find . . . that there has not

been a prima facie showing as to purposeful discrimination” in violation of Batson.

       At the conclusion of the trial, the jury returned verdicts finding defendant not

guilty of second-degree kidnapping, but guilty of first-degree murder. Defendant

timely appealed.

                                    II.    Discussion

       On appeal, defendant argues that the trial court erred in ruling that he failed

to establish a prima facie showing that the State exercised peremptory challenges in

a racially discriminatory manner, in violation of Batson. The State has filed a motion




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                                    Opinion of the Court



to dismiss defendant’s appeal. After first disposing of the State’s motion, we turn to

the merits of defendant’s appeal.

                               A.      Motion to Dismiss

      The State argues that defendant’s failure to include in the appellate record a

transcript of the jury selection proceedings warrants dismissal of defendant’s appeal.

We disagree and deny the State’s motion to dismiss on this ground.

      The record in this case is minimally sufficient to permit appellate review. We

disagree with the proposition that, in order to be entitled to review of a Batson claim,

a defendant must include a verbatim transcript of jury selection in the record. We

find no support in our statutes or case law which lead to such a result. We hasten to

add that if a defendant anticipates making a Batson discrimination argument, it is

extremely difficult to prevail on such grounds without a transcript of jury selection.

             A three-step process has been established for evaluating
             claims of racial discrimination in the prosecution’s use of
             peremptory challenges. First, defendant must establish a
             prima facie case that the peremptory challenge was
             exercised on the basis of race. Second, if such a showing is
             made, the burden shifts to the prosecutor to offer a racially
             neutral explanation to rebut defendant’s prima facie case.
             Third, the trial court must determine whether the
             defendant has proven purposeful discrimination.

State v. Cummings, 346 N.C. 291, 307-308, 488 S.E.2d 550, 560 (1997) (citations

omitted), cert. denied, 522 U.S. 1092, 139 L. Ed. 2d 873 (1998).




                                           -5-
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                                   Opinion of the Court



      In determining whether a defendant has established a prima facie case of

discrimination, our Supreme Court has noted that “[s]everal factors are relevant[.]”

State v. Hoffman, 348 N.C. 548, 550, 500 S.E.2d 718, 720 (1998).

             Those factors include the defendant’s race, the victim’s
             race, the race of the key witnesses, questions and
             statements of the prosecutor which tend to support or
             refute an inference of discrimination, repeated use of
             peremptory challenges against [African Americans] such
             that it tends to establish a pattern of strikes against
             [African Americans] in the venire, the prosecution’s use of
             a disproportionate number of peremptory challenges to
             strike [African American] jurors in a single case, and the
             State’s acceptance rate of potential [African American]
             jurors.

Id. (quoting State v. Quick, 341 N.C. 141, 145, 462 S.E.2d 186, 189 (1995)).

      A verbatim transcript need not be furnished in every case for us to review

whether a defendant established a prima facie Batson claim before the trial court.

See State v. Sanders, 95 N.C. App. 494, 499, 383 S.E.2d 409, 412 (1989)

(acknowledging even without a verbatim transcript of jury selection, the record

contained “the barest essentials” to permit review: “the racial composition of the jury,

the number of [African American] jurors excused, and the State’s proffered reasons

for their exclusion.   The record also contains defense counsel’s response to the

prosecutor’s explanations and the trial judge’s conclusions.”). Yet a defendant must

include some evidence in the record, in one form or another, shedding light on the

aforementioned factors to enable appellate review of a Batson claim. A narrative



                                          -6-
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                                    Opinion of the Court



summary of voir dire proceedings, made during the Batson hearing and agreed to by

defense counsel, the prosecutor, and the trial court, as was done here, may suffice to

permit review.     Moreover, the narrative summary in this case was minimally

sufficient to enable review.

       While we believe that such a narrative must contain more relevant information

in order to prevail, as discussed infra in our determination on the merits, unlike the

dissent, we find remand to be unnecessary. The dissent opines that the trial court

erred in failing to make specific findings of fact as to the Quick factors in its

determination that defendant had not made a prima facie showing, and believes

remand for entry of such findings to be appropriate. We disagree. The trial court’s

findings on defendant’s Batson claim were indeed conclusory: “[A]t this point, the

Court does not find that the State’s exercise of peremptory challenges has even

reached [the very low hurdle for making a prima facie claim] yet. . . . [T]he Court has

found at this point there’s not a prima facie showing, and the Court will deny the

Batson challenge.”

       Nonetheless, remand is inappropriate. While the absence of a transcript of

voir dire does not preclude our review, it does preclude remand in the instant case.

“[T]he failure of a trial court to find facts is not prejudicial where there is no ‘material

conflict in the evidence on voir dire.’ ” Sanders, 95 N.C. App. at 500-501, 383 S.E.2d

at 413 (emphasis in original) (quoting State v. Riddick, 291 N.C. 399, 408, 230 S.E.2d



                                           -7-
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                                   Opinion of the Court



506, 512 (1976)). In Sanders, where the trial court entered a similar conclusory

finding,

             we [were] forced to assume that no material difference in
             fact existed since the defendant failed her duty to assure
             the availability of a jury voir dire transcript for our review.
             Thus, the trial judge’s failure to make adequate factual
             findings d[id] not constitute reversible error. Further, the
             defendant’s failure to secure a voir dire transcript ma[de]
             remand for further findings by the trial judge pointless.
             Without such transcript, we still would be unable to
             determine whether the trial judge’s [new] findings had a
             basis in fact.

Id. at 501, 383 S.E.2d at 413. The Court then proceeded to review the trial court’s

conclusory finding based “only [on] the information adduced at the Batson inquiry.”

Id. Such is the appropriate course of action in this case.

              B.    Reviewing the Merits of Defendant’s Batson Claim

      Reviewing defendant’s Batson claim based upon the transcript of the trial

court’s hearing on the matter, we find no error.

      “[T]he State’s privilege to strike individual jurors through peremptory

challenges[ ] is subject to the commands of the Equal Protection Clause.” Batson, 476

U.S. at 89, 90 L. Ed. 2d at 82. “When the government’s choice of jurors is tainted with

racial bias, that overt wrong casts doubt over the obligation of the parties, the jury,

and indeed the court to adhere to the law throughout the trial.” Miller-El v. Dretke,

545 U.S. 231, 238, 162 L. Ed. 2d 196, 212 (2005) (internal quotation marks,

alterations, and citation omitted). When a defendant makes such an allegation, the


                                          -8-
                                  STATE V. CAMPBELL

                                   Opinion of the Court



trial court is obligated to address defendant’s claim with the three-step analysis set

forth in Cummings, 346 N.C. at 307-308, 488 S.E.2d at 560, detailed supra part A.

      “[W]hen a trial court rules that the defendant has failed to establish a prima

facie case of discrimination, this Court’s review is limited to a determination of

whether the trial court erred in this respect.” State v. Bell, 359 N.C. 1, 12, 603 S.E.2d

93, 102 (2004) (citation omitted), cert. denied, 544 U.S. 1052, 161 L. Ed. 2d 1094
(2005). The trial court’s orders concerning jury selection are entitled to deference on

review. See State v. Dickens, 346 N.C. 26, 42, 484 S.E.2d 553, 561 (1997) (noting that

the trial court is afforded deference on jury selection rulings because the trial court

has “the opportunity to see and hear a juror and has the discretion, based on its

observations and sound judgment, to determine whether a juror can be fair and

impartial”) (citation omitted). Thus, we “must uphold the trial court’s findings unless

they are clearly erroneous.” State v. Cofield, 129 N.C. App. 268, 275, 498 S.E.2d 823,

829 (1998) (internal quotation marks and citation omitted).

      As an initial matter, we must note that we are precluded from considering in

our analysis the reasons given for the State’s exercise of the peremptory challenges

at issue. These reasons were offered by the prosecutor only after ordered to do so by

the trial court “out of an abundance of precaution[,]” after the court expressly held

that defendant had not met his burden of establishing a prima facie Batson claim.




                                          -9-
                                 STATE V. CAMPBELL

                                   Opinion of the Court



      When a trial court requests that the State explain its reasons for excusing an

African American prospective juror after the court has expressly found that

defendant failed to establish a prima facie claim, step one of the Batson analysis does

not become moot, and the trial court is not subsequently required to determine

whether the State’s proffered explanations are nondiscriminatory. Hoffman, 348

N.C. at 551-52, 500 S.E.2d at 721. However, when a prosecutor “volunteers his

reasons for the peremptory challenges in question before the trial court rules [on]

whether the defendant has made a prima facie showing, . . . the question of whether

the defendant has made a prima facie showing becomes moot, and it becomes the

responsibility of the trial court to make appropriate findings on whether” the

proffered explanation is nondiscriminatory. State v. Williams, 343 N.C. 345, 359, 471

S.E.2d 379, 386 (1996) (citations omitted), cert. denied, 519 U.S. 1061, 136 L. Ed. 2d

618 (1997).

      In the instant case, although the appellate record contains the State’s reasons

for striking three prospective African American jurors, we are precluded from using

this information in the first step of the Batson analysis. The trial court clearly ruled

that defendant had not made out a prima facie case of a Batson violation prior to the

State’s provision of its nondiscriminatory explanations. The record shows that after

the trial court initially ruled against defendant’s Batson challenge, the trial court

asked, “out of an abundance of precaution, [whether] the State wish[ed] to offer a



                                          - 10 -
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                                   Opinion of the Court



racially-neutral basis for the exercise[.]”        At that time, even if the State had

volunteered its reasons for exercising its peremptory strikes—which it declined to

do—our analysis of defendant’s Batson claim would remain the same, because the

State’s reasons would have been proffered after the trial court’s ruling on the matter.

Likewise, the fact that the trial court subsequently ordered the State to articulate its

nondiscriminatory reasons for the peremptory challenges is irrelevant; the first step

of the Batson analysis will be considered moot only if “the trial court requires the

prosecutor to give his reasons without ruling on the question of a prima facie

showing.” Id. (emphasis added).

      Next, we address defendant’s argument that the trial court’s order on his

Batson claim is facially deficient. Defendant asserts that in its written order, the

trial court “found only that there was not a prima facie showing made to establish

any violations by the State for its exercise of peremptory challenges.” However, given

that the court never reached the second step of the Batson analysis, this was the only

finding that was required. The trial court is only tasked with making “specific

findings of fact at each stage of the Batson inquiry that it reaches.” State v. Headen,

206 N.C. App. 109, 114, 697 S.E.2d 407, 412 (2010) (citation omitted). The record on

appeal includes the trial court’s order on defendant’s Batson challenge, setting forth

the factual basis of the challenge and the court’s decision on the matter. Thus, the

trial court’s order is not facially deficient, as defendant contends.



                                          - 11 -
                                  STATE V. CAMPBELL

                                  Opinion of the Court



      We now turn to a substantive analysis of the trial court’s order finding that

defendant failed to establish a prima facie Batson claim. From the transcript of the

hearing, we are only able to ascertain defendant’s race and that the State used three

of its four peremptory challenges to remove prospective African American jurors and

alternates. However, we do not know the victim’s race, the race of key witnesses,

questions and statements of the prosecutor that tend to support or refute a

discriminatory intent, or the State’s acceptance rate of potential African American

jurors. Finally, we see nothing in the record from which we can ascertain the final

racial composition of the jury.

      We will not “assume error by the trial judge when none appears on the record

before” us. State v. Alston, 307 N.C. 321, 341, 298 S.E.2d 631, 645 (1983) (citation

omitted). Without more information regarding the factors set forth in Hoffman and

Quick, defendant has not shown us that the trial court erred in its finding that no

prima facie showing had been made. Therefore, we uphold the trial court’s ruling on

the merits of defendant’s Batson claim.

      We would urge all criminal defense counsel that the better practice is to

request a verbatim transcription of jury selection if they believe a Batson challenge

might be forthcoming. However, if that is not initially done, it is incumbent that

counsel place before the trial court evidence speaking to all the Hoffman factors for




                                          - 12 -
                                 STATE V. CAMPBELL

                                   Opinion of the Court



evaluation on appeal. Without such information, it is highly improbable that such a

challenge will succeed. Such is the pitfall of defendant’s case in this appeal.

                                  III.    Conclusion

      For the foregoing reasons, we find no error.

      NO ERROR.

      Judge ZACHARY concurs.

      Judge HAMPSON concurs in part; dissents in part by separate opinion.




                                          - 13 -
 No. COA18-998 – State v. Campbell


        HAMPSON, Judge, concurring in part, dissenting in part.


        I agree the record before us is minimally sufficient to permit appellate review.

See State v. Sanders, 95 N.C. App. 494, 499, 383 S.E.2d 409, 412 (1989)

(acknowledging that although the “lack of a voir dire transcript detracts from our

ability to review the substance of the proffered reasons,” the record contained “the

barest essentials” to permit review: “the racial composition of the jury, the number of

black jurors excused, and the State’s proffered reasons for their exclusion[,]” while

also noting “[t]he record also contains defense counsel’s response to the prosecutor’s

explanations and the trial judge’s conclusions”). Consequently, I join in denying the

State’s Motion to Dismiss the Defendant’s Appeal.

        This case illustrates the immense difficulty in preserving a Batson2 challenge

for appellate review under our existing case law. I agree a verbatim transcript of jury

selection is not always necessary to preserve a Batson challenge. Indeed, I suspect

in many cases the need to make a Batson challenge only becomes apparent during

the voir dire and after a defendant’s opportunity to request complete recordation. 3

Thus, there must be another way to establish the necessary record to preserve the

issue for appellate review. See, e.g., State v. Shelman, 159 N.C. App. 300, 310, 584




        2 Batson v. Kentucky, 476 U.S. 79, 90 L. Ed. 2d 69 (1986).
        3 If there is any lesson to be drawn here from the majority result, it appears it is that the surest
(if not the only) way to preserve a Batson challenge is to request recordation of jury voir dire in every
single case for every single defendant. Of course, this recordation is expressly not required by statute
in noncapital cases. See N.C. Gen. Stat. § 15A-1241(a)(1) (2017).
                                      STATE V. CAMPBELL

                        Hampson, J., concurring in part, dissenting in part.



S.E.2d 88, 96 (2003) (requiring “a transcript or some other document setting out

pertinent aspects of jury selection” in order to review a defendant’s Batson challenge

(emphasis added)).

       However, our existing case law significantly limits a party’s ability to preserve

the issue absent not only complete recordation but also specific and direct voir dire

questioning of prospective jurors (or other evidence) about their race. See State v.

Mitchell, 321 N.C. 650, 654, 365 S.E.2d 554, 556 (1988) (“Statements of counsel alone

are insufficient to support a finding of discriminatory use of peremptory challenges.”

(citation omitted)); see also State v. Brogden, 329 N.C. 534, 546, 407 S.E.2d 158, 166

(1991) (“[D]efendant, in failing to elicit from the jurors by means of questioning or

other proper evidence the race of each juror, has failed to carry his burden of

establishing an adequate record for appellate review.”); State v. Payne, 327 N.C. 194,

200, 394 S.E.2d 158, 161 (1990) (holding record not adequately preserved where

“defendant attempted to support his motion via an affidavit purporting to provide the

names of the black prospective jurors”); Shelman, 159 N.C. App. at 310, 584 S.E.2d

at 96 (“Nor is the transcript of the trial court’s discussion with defense counsel

regarding defendant’s Batson challenge an adequate substitute for these factual

details[.]”).4



       4  I note a prior decision of this Court touching on related preservation issues is currently
pending before our state Supreme Court. See State v. Bennett, ___ N.C. App. ___, 821 S.E.2d 476(2018), disc. rev. allowed, 372 N.C. 107, 824 S.E.2d 402, 405 (2019).

                                                 2
                                        STATE V. CAMPBELL

                         Hampson, J., concurring in part, dissenting in part.



        In light of our case law indicating a trial lawyer cannot recreate the record of

an unrecorded jury voir dire to preserve a Batson challenge, the obligation to recreate

that record, it seems, must fall on the trial judge in conjunction with the parties. See,

e.g., N.C. Gen. Stat. § 15A-1241(c) (“When a party makes an objection to unrecorded

statements or other conduct in the presence of the jury, upon motion of either party

the judge must reconstruct for the record, as accurately as possible, the matter to

which objection was made.”).             Here, for example, the trial court and lawyers

cooperated to partially recreate the record. Specifically, the parties each put on the

record their respective positions as to each peremptory challenge, establishing that

the State used three out of four challenges on African American jurors and another

African American juror was excused for cause. These basic facts appear undisputed

on the record before us. The one key element left out, however, was the actual make-

up of the jury.5

        I accept the premise that this Court cannot presume error where none appears

on the cold record before us. I also take the point that it is an appellant’s burden to

demonstrate error on the record and the objecting party’s burden to establish a prima

facie showing under Batson. Nevertheless, I am persuaded, on the facts of this case



        5 It is significant neither the defense nor the State set out the make-up of the jury on the
record. The acceptance rate of jurors would seem to be just as applicable as the rejection rate to either
establishing or defending a prima facie Batson challenge. Further, the fact the only African American
prospective jurors discussed were the four excused either for cause or peremptorily could imply those
were the only four African American prospective jurors subjected to voir dire. Certainly, there is also
no record before us of any African American juror actually being seated in this case.

                                                   3
                                       STATE V. CAMPBELL

                         Hampson, J., concurring in part, dissenting in part.



and the admittedly limited record before us, that the challenge by defense counsel to

the use of three out of four peremptory challenges on African American jurors places

this case sufficiently in line with State v. Barden so as to require the trial court to

conduct a Batson hearing and make specific findings of fact as to whether Defendant

had made a prima facie Batson challenge. 356 N.C. 316, 344-45, 572 S.E.2d 108, 127-

28 (2002) (holding the use of 71.4% of peremptory challenges on African American

jurors was supportive of a prima facie Batson violation).

       Barden, on a more complete record, held a prima facie Batson violation had

been established. Notably, there, our Supreme Court pointed out there was “no hint

of racism” in the prosecutor’s questions and even noted the prosecutor accepted two

(of seven) African American jurors. Id. at 343-44, 572 S.E.2d at 127. Rather, the

Supreme Court looked to both the acceptance rate and the rate upon which the State

exercised     its   peremptory       challenges       against     African       American     jurors. 6

Acknowledging a numerical analysis is not necessarily dispositive, the Court

nevertheless concluded the numerical analysis was useful in determining a prima

facie showing had been made. Id. at 344, 572 S.E.2d at 127 (citation omitted).

       I would not go so far on this record as to hold Defendant met his burden to

establish a prima facie case for a Batson violation. Rather, I would conclude defense


       6 It appears in Barden the State peremptorily rejected five of seven African American jurors.
At the same time, and at the same rate, the State also exercised five of seven peremptory challenges
on African American jurors. Id. at 344, 572 S.E.2d at 127. Thus, the discussion of the acceptance rate
and peremptory-challenge rate in that case mirrors each other.

                                                  4
                                        STATE V. CAMPBELL

                         Hampson, J., concurring in part, dissenting in part.



counsel’s Batson challenge was sufficiently valid to require the trial court to make

specific findings of fact based on the trial court’s own first-hand observations and

credibility determinations as to the factors present relevant to a prima facie Batson

inquiry, including the overall make-up of the jury.7

        Indeed, the trial court’s ability to make such first-hand observations of jury

selection is exactly why we—as an appellate court—must show great deference to the

trial court. See generally State v. Hoffman, 348 N.C. 548, 554, 500 S.E.2d 718, 722

(1998) (citation omitted); see also State v. Nicholson, 355 N.C. 1, 21, 558 S.E.2d 109,

125 (2002) (“The trial court’s determination is given deference on review because it is

based primarily on firsthand credibility evaluations.” (citation omitted)). This is also

why, however, it is so imperative that “ ‘[t]o allow for appellate review, the trial court

must make specific findings of fact at each stage of the Batson inquiry that it reaches.’

” State v. Headen, 206 N.C. App. 109, 114, 697 S.E.2d 407, 412 (2010) (quoting State

v. Cofield, 129 N.C. App. 268, 275, 498 S.E.2d 823, 829 (1998)). Here, the trial court

did not make specific findings of fact to permit appellate review regarding the



        7 While not determinative, it is also persuasive to me in reaching this conclusion that the trial
court, having observed all of this first-hand, felt it necessary to first request and subsequently order
the State to put its justifications for exercising these peremptory challenges on the record. The practice
of ordering a party to give its reasons for exercising a peremptory challenge in the absence of a prima
facie Batson violation is at odds with the very purpose of peremptory challenges. Indeed, it is the
requirement of a prima facie showing of a Batson violation that protects a party’s right to exercise
peremptory challenges without every strike being open to examination. The fact the trial court felt
compelled to order the State to put its justifications for exercising these challenges into the record
strongly suggests Defendant had met his burden to establish a prima facie showing under Batson.



                                                    5
                                        STATE V. CAMPBELL

                         Hampson, J., concurring in part, dissenting in part.



relevant factors set out in State v. Quick8 in determining whether there was a prima

facie showing by Defendant under our Batson analysis. See 341 N.C. 141, 145, 462

S.E.2d 186, 189 (1995) (citation omitted).

        Consequently, I would grant the limited remedy of remanding this case to the

trial court for specific findings of fact in order to permit appellate review of the trial

court’s decision, including any further evidentiary proceedings the trial court deems

necessary to accommodate its fact finding as to the factors it deems relevant. Cf.

Hoffman, 348 N.C. at 555, 500 S.E.2d at 723. As such, I respectfully dissent from the

majority result affording Defendant no relief from judgment.




        8 State v. Quick, 341 N.C. 141, 145, 462 S.E.2d 186, 189 (1995) (“Those factors include the
defendant’s race, the victim’s race, the race of the key witnesses, questions and statements of the
prosecutor which tend to support or refute an inference of discrimination, repeated use of peremptory
challenges against blacks such that it tends to establish a pattern of strikes against blacks in the
venire, the prosecution’s use of a disproportionate number of peremptory challenges to strike black
jurors in a single case, and the State’s acceptance rate of potential black jurors.” (citation omitted)).

                                                   6
